                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al.,                                      *

          Plaintiffs,                                       *
                                                                          Civil Action No. 8:25-cv-00951-PX
     v.                                                     *

KRISTI NOEM, Secretary,                                     *
United States Department                                    *
of Homeland Security, et al.,                               *

          Defendants.
                                                        *
                                                       ***
                                                      ORDER

          Pursuant to this Court’s Letter Order Regarding the Filing of Discovery Motions (ECF No.

80), Plaintiffs have notified the Court of seemingly intractable discovery disputes that require

immediate attention to remain on the expedited discovery schedule. ECF Nos. 79 & 98. To

facilitate the just and expeditious production of discovery, the Court rules on Defendants’ stated

objections included within their answers to Interrogatories and responses to Requests for

Production of Documents (“RPDs”).1

I.        Ruling on General Objections

1.        “False Premise” Objections. Defendants object to certain discovery because they claim

the requests are based on the “false premise that the United States can or has been ordered to

facilitate Abrego Garcia’s release from custody in El Salvador.”2 See Defs.’ Objs. & Resps. to




1
  The Defendants’ objections to the RPDs often invoke the same grounds using the same language as in their
answers to Interrogatories. See Defs.’ Objs. & Resps. to Pls.’ First Set of Expedited Reqs. for Produc., ECF No. 98-
2. In the interests of timely guidance to the parties, all rulings as to the objections in the answers to Interrogatories
apply with equal force to the objections stated in the response to the RPDs. Where necessary, the Court will identify
the companion RPD that is covered by a particular ruling.
2
  See, e.g., Defs.’ Objs. & Resps. to Pls.’ First Set of Expedited Interrogs. Nos. 1, 3 & 6.


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Pls.’ First Set of Expedited Interrogs., ECF No. 98-1 at 3. Defendants—and their counsel—well

know that the falsehood lies not in any supposed “premise,” but in their continued

mischaracterization of the Supreme Court’s Order. That Order made clear that this Court “properly

required the Government to ‘facilitate’ Abrego Garcia’s release from custody in El Salvador and

to ensure that his case is handled as it would have been had he not been improperly sent to El

Salvador.” See Noem v. Abrego Garcia, 604 U.S. –– (2025), slip op. at 2; see also Abrego Garcia

v. Noem, No. 25-1404, 2025 WL 1135112, at *1 (4th Cir. Apr. 17, 2025). Defendants’ objection

reflects a willful and bad faith refusal to comply with discovery obligations. The objection is

overruled. Defendants are therefore ordered to supplement their answers in full compliance with

the Federal Rules of Civil Procedure. Their answers must include facts responsive to the requests,

not oblique and incomplete, non-specific characterizations. See Fed. R. Civ. P. 33(b)(3) (requiring

that each interrogatory be answered “fully”).

2.         Privilege Assertions.          Equally specious, Defendants’ objections on the grounds of

privilege are rejected. Defendants invoke in name only a range of protections—attorney-client

privilege, the work-product doctrine, the deliberative process privilege, the state secrets privilege,

and an undefined “governmental privilege”—without providing any supporting information or

analysis.3 As Defendants and their counsel know, the proponent of a privilege must demonstrate

the legal and factual bases to invoke the protections that such privilege affords. See Jones v.

Murphy, 256 F.R.D. 510, 513 (D. Md. 2008), aff’d, No. CIV. CCB-05-1287, 2009 WL 604937 (D.

Md. Feb. 23, 2009) (“The burden is on the proponent of the privilege, here the defendants, to

demonstrate ‘not only that an attorney-client relationship existed, but also that the particular

communications at issue are privileged [(confidential)] and that the privilege was not waived.’”)



3
    See, e.g., Defs.’ Objs. & Resps. to Pls.’ First Set of Expedited Interrogs. Nos. 1–7, 9–13.


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(quoting In Re: Grand Jury Subpoena, 341 F.3d 331, 335 (4th Cir. 2003)). To that end, the

proponents of the privilege must produce a privilege log that specifically identifies each document

or communication and the type of privilege being asserted. See Fed. R. Civ. P. 26(b)(5); see also

D. Md. Loc. R. App. A, Guideline 10. And yet, Defendants and counsel stubbornly refuse to

provide any basis for the same. Given that this Court expressly warned Defendants and their

counsel to adhere strictly to their discovery obligations, see Hr’g Tr. 11:24–12:2, Apr. 16, 2025

(“Because in fairness, Mr. Ensign, [if] you’re not going to answer the questions that the plaintiffs

put within the scope of my order, then you’ll justify why. You’ll cite privilege, you’ll follow the

rules, I’ll make a determination.”), their boilerplate, non-particularized objections are

presumptively invalid and reflect a willful refusal to comply with this Court’s Discovery Order

and governing rules. ECF No. 79. Although Defendants state now that they are willing to “meet

and confer” with counsel about the production of such a log, ECF No. 98-1 at 23, their repeated

refusals to meet and confer about much of anything else undermine the reliability of this

assertion. ECF No. 98 at 2. The Court thus finds this offer was not made in good faith.

       Nor does the Court find Defendants’ protestations regarding the abbreviated time-line

persuasive.   For weeks, Defendants have sought refuge behind vague and unsubstantiated

assertions of privilege, using them as a shield to obstruct discovery and evade compliance with

this Court’s orders. Defendants have known, at least since last week, that this Court requires

specific legal and factual showings to support any claim of privilege. Yet they have continued to

rely on boilerplate assertions. That ends now. If Defendants want to preserve their privilege

claims, they must support them with the required detail. Otherwise, they will lose the protections

they failed to properly invoke. Accordingly, by no later than 6:00 PM on April 23, 2025,

Defendants shall supplement their answers and responses to provide the specific legal and factual




                                                 3
bases for each asserted privilege and produce a privilege log that fully complies with the Federal

Rules of Civil Procedure and this Court’s Local Rules. See Fed. R. Civ. P. 26(b)(5)(A)(ii); see

also D. Md. Loc. R. App. A, Guideline 10.

3.         Objections to Discovery Predating April 4, 2025. Defendants object to any discovery

requests concerning events predating the Court’s April 4, 2025 Order as beyond the scope of the

expedited discovery. ECF No. 98-1 at 3 & 98-2 at 3. Defendants’ arbitrarily cramped reading of

the Court’s order is rejected.              At a minimum, the discovery period contemplates the time

immediately preceding Abrego Garcia’s lawless seizure on March 12, 2025, and his transport to

and confinement in CECOT, which all predate April 4, 2025. This is particularly relevant to

Abrego Garcia’s custodial status today, if for nothing else, the Plaintiffs are entitled to discover all

relevant and probative evidence that undermines the Defendants’ incomplete and evasive answer

that Abrego Garcia is in the “sovereign, domestic custody” of El Salvador. Indeed, custody can

be joint, and custodial status may be controlled by the Defendants acting in concert with El

Salvador. The Court thus overrules Defendants’ “beyond the scope” objections and directs that

Defendants supplement their discovery answers and responses accordingly.

4.         “Outside the Scope” Objections.                   Defendants further object to discovery that is

supposedly “outside the scope of expedited discovery authorized under the Order, to the extent is

[sic] seeks information about Abrego Garcia’s removal to El Salvador, his initial placement in

CECOT or his continued confinement in CECOT.”4                              The Court overrules this objection.

Information regarding Abrego Garcia’s removal, as well as placement and confinement in CECOT

cut to the heart of the inquiry; namely, what steps, if any, Defendants have taken or will take “to

‘facilitate’ Abrego Garcia’s release from custody in El Salvador and to ensure that his case is



4
    See, e.g., Defs.’ Objs. & Resps. to Pls.’ First Set of Expedited Interrogs. Nos. 5, 7–14.


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handled as it would have been had he not been improperly sent to El Salvador.” Noem v. Abrego

Garcia, 604 U.S. –– (2025), slip op. at 2; see also Abrego Garcia v. Noem, No. 25-1404, 2025 WL

1135112, at *1 (4th Cir. Apr. 17, 2025). The areas are also relevant and probative as to whether

Defendants have made “in good faith all reasonable efforts to comply” with this Court’s Orders.

See United v. Ali, No. 16-1655, 874 F.3d 825, 831–832 (4th Cir. 2017). “Good faith requires

‘presence of honest intention . . . to effectuate the aim . . . .” Carolin Corp v. Miller, 886 F.2d 693,

700 (4th Cir. 1989) (quoting In re North Redington Beach Assoc., 91 B.R. 166, 169 (Bankr. M.D.

Fla. 1988); see Noem v. Abrego Garcia, 604 U.S. –– (2025), slip op. at 2 (explaining that

compliance with the Order would require the Government “to share what it can concerning the

steps it has taken and the prospect of further steps.”). To aid the Plaintiffs in understanding

whether the Defendants have sought to comply with such orders in good faith, this general

objection must be rejected.

II.    Ruling on Specific Objections & Incomplete Responses

1.     Defendants’ answer to Interrogatory No. 5, in which they name exactly two individuals

who “have been or will be involved in any of the actions responsive to Interrogatories 1–4 or in

ordering or authorizing Abrego Garcia’s removal to El Salvador, his initial placement in CECOT

or his continued confinement in CECOT,” reflects a deliberate evasion of their fundamental

discovery obligations. Defendants identify only Robert Cerna, Acting Field Office Director for

Harlingen, and Evan Katz, Assistant Director for the Enforcement and Removal Operations at

DHS, as the universe of individuals responsive to the question. Given the context of this case,

Defendants have failed to respond in good faith, and their refusal to do so can only be viewed as

willful and intentional noncompliance. Defendants must supplement their answer to include all

individuals involved as requested in this interrogatory.




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2.       Defendants’ answer to Interrogatory No. 7 is vague, evasive, and incomplete.

Defendants’ nonspecific reference to “a conversation” with “a representative” does not nearly

satisfy their obligation to provide all relevant, nonprivileged information with specificity.

Defendants must supplement. ECF No. 98-1 at 11.

3.       Defendants object to the overbreadth of Interrogatory Nos. 9, 10 & 11. To facilitate

expedited and targeted discovery, Plaintiffs are directed to refine their requests to focus

specifically on any agreement, arrangement, or understanding between the United States and El

Salvador related to the removal and confinement of Abrego Garcia and any other individuals who

were transported with him on March 15, 2025. See Decl. of Robert Cerna, ECF No. 11-3, ¶ 6 (“On

March 15, 2025, two planes carrying aliens being removed under the Alien Enemies Act (“AEA”)

and one carrying aliens with Title 8 removal orders departed the United States for El Salvador.

Abrego-Garcia, a native and citizen of El Salvador, was on the third flight and thus had his removal

order to El Salvador executed.”).6

4.       Defendants must answer Interrogatory No. 12. The interrogatory is limited to all efforts

the Government has taken to facilitate the return of aliens wrongfully removed to El Salvador. The

request is particularly relevant and probative to whether Defendants are taking any steps in good

faith to comply with this Court’s facilitation order involving the very country to which Abrego

Garcia’s was wrongfully removed. The Court also rejects that this narrow request is “unduly

burdensome” because Defendants have made absolutely no showing as to why it cannot, with a

modicum of due diligence, answer the question. See Fed. R. Civ. P. 26(b)(2)(B). Merely saying

so will not suffice, especially where Defendants keep such records in the ordinary course. ECF

No. 79 at 5 n. 1.


6
 For clarity, this ruling also applies to Defs.’ Objs. & Resps. to Pls.’ First Set of Expedited Reqs. for Prod. of Docs.
Nos. 6–8.


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5.       Likewise, as to Interrogatory No. 13, Defendants posit the same objections previously

discussed. See infra at 6. These objections are rejected for the same reasons here. Defendants

must respond.7

6.       As to Interrogatory No. 14 seeking the complete factual bases for Defendants’ assertion

that Abrego Garcia is a member of MS-13, Defendants’ relevancy and scope objections are

rejected. Defendants have previously articulated in their daily updates as to Abrego Garcia’s

custodial status and his potential return that DHS would eventually take Abrego Garcia into

custody and either remove him to another country or terminate withholding of removal because of

his purported “membership in MS-13, a designated foreign terrorist organization.” ECF No. 77 at

2. Defendants cannot invoke the moniker of MS-13 as responsive to the Court’s previous order,

ECF No. 77 at 1–2, then object to follow-up interrogatories seeking the factual bases for the same.

Defendants must supplement this answer.8

7.       To maintain the targeted and expeditious nature of this discovery period, the Court finds

Interrogatory No. 15 overbroad and not squarely relevant to the issues before the Court. The

request for “the identity and role of every U.S. official or employee with knowledge of the facts

alleged in the Complaint,” as well as those involved in any submission to this Court, the Fourth

Circuit or the Supreme Court, is too broad to extract a meaningful and timely response. The

interrogatory is stricken as written.9

III.     Conclusion

         Based on the foregoing, the Defendants’ objections are largely overruled and sustained in

part only as to Interrogatories 9–11 and RPDs 6–8. Plaintiffs must narrow Interrogatories 9–11



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  For clarity, the rulings as to Interrog. Nos. 12 & 13 apply to Reqs. for Prod. Nos. 9 & 10, respectively.
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  For clarity, this ruling also applies to Req. for Prod. No. 13.
9
  For clarity, this ruling also applies to Req. for Prod. No. 14.


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and RPDs 6–8 consistent with this Order and resubmit to Defendants by no later than 8:00 PM

tonight.   Defendants shall answer and respond to all outstanding discovery requests and

supplement its invocation of privilege as directed by no later than 6:00 PM April 23, 2025.

       So Ordered.




      April 22, 2025                                              /S/
   Date                                                    Paula Xinis
                                                           United States District Judge




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